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   EXHIBIT 2
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Begin forwarded message:

       From: Registrar's office <regmail@boisestate.edu>
       Date: October 20, 2021 at 4:39:01 PM MDT
       To: LindsayHecox@
       Subject: Spring 2022 Registration Appointment


       Dear Lindsay,

       Spring 2022 online registration dates are set. You can begin registering for courses on 11/12/2021,
       1:00:00 PM Mountain Time.

       Access your Student Center from myBoiseState.

       Prepare for registration with the following:
          ● Resolve any holds or to-dos. Financial holds totaling at least $500 will stop you from registering.
              To prevent a registration hold, please take care of smaller holds before they reach this limit.
              View information on To-Do’s and Holds.
          ● Meet with an advisor.
          ● Add courses to your shopping cart.
          ● Verify the meeting locations of the courses you select, such as Main, Gowen Field, Boise-CWI,
              Mountain Home.
          ● Verify your major on myBoiseState (update if necessary).
          ● Verify your mailing address and emergency contact information (update if necessary).
          ● Check the Spring 2022 Academic Calendar for important dates and deadlines.
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    ●   Review your class schedule and financial account for accuracy and make a copy of your
        schedule for your records.

When registering for Spring 2022 classes, you will have an array of delivery modes (in-person, online,
remote, hybrid) to choose from. This gives you the ability to develop the schedule that best fits your
needs. There is a $30 per credit Internet Fee for fully online courses. The Internet Fee has been in effect
for over a decade and is what makes possible the growing number of Boise State online offerings,
increased faculty development for teaching online, and services specific to online courses.

We are here to help, so please utilize the Registrar’s Help Center or the contact information below if you
have any questions.

Best wishes for the rest of the semester!



Registrar’s Office
(208) 426-4249
boisestate.edu/registrar/
regmail@boisestate.edu
Administration Building, Room 110




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